                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 1 of 11 PageID #: 1



                                                           BARSHAY SANDERS, PLLC
                                                           100 Garden City Plaza, Suite 500
                                                           Garden City, New York 11530
                                                           Tel: (516) 203-7600
                                                           Fax: (516) 706-5055
                                                           Email: ConsumerRights@BarshaySanders.com
                                                           Attorneys for Plaintiff
                                                           Our File No.: 115572

                                                                                        UNITED STATES DISTRICT COURT
                                                                                        EASTERN DISTRICT OF NEW YORK



                                                           Ruth Pulla, individually and on behalf of all others          Docket No:
                                                           similarly situated,
                                                                                                                         CLASS ACTION COMPLAINT
                                                                                   Plaintiff,

                                                                                                                         JURY TRIAL DEMANDED
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC




                                                                                        vs.
                         GARDEN CITY, NEW YORK 11530




                                                           D & A Services, LLC and JH Portfolio Debt
                                                           Equities, LLC,

                                                                                 Defendants.


                                                                  Ruth Pulla (hereinafter referred to as “Plaintiff”), by and through the undersigned
                                                           counsel, complains, states and alleges against D & A Services, LLC and JH Portfolio Debt
                                                           Equities, LLC (hereinafter referred to collectively as “Defendants”), as follows:
                                                                                                    INTRODUCTION
                                                                   1.     This action seeks to recover for violations of the Fair Debt Collection Practices
                                                           Act, 15 U.S.C. § 1692, et seq., (“FDCPA”).
                                                                                                JURISDICTION AND VENUE
                                                                   2.     This Court has federal subject matter jurisdiction pursuant to 28 U.S.C. §1331 and
                                                           15 U.S.C. § 1692k(d).
                                                                   3.     Venue is proper under 28 U.S.C. §1391(b) because a substantial part of the events
                                                           or omissions giving rise to the claim occurred in this Judicial District.




                                                                                                             1
                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 2 of 11 PageID #: 2



                                                                   4.     At all relevant times, Defendants conducted business within the State of New
                                                           York.
                                                                                                      PARTIES

                                                                   5.     Plaintiff Ruth Pulla is an individual who is a citizen of the State of New York
                                                           residing in Queens County, New York.
                                                                   6.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
                                                                   7.     On information and belief, Defendant D & A Services, LLC, is an Illinois Limited
                                                           Liability Company with a principal place of business in Cook County, Illinois.
                                                                   8.     On information and belief, Defendant JH Portfolio Debt Equities, LLC, is a
                                                           California Limited Liability Company with a principal place of business in Los Angeles County,
                                                           California.
                                                                   9.     Defendants are regularly engaged, for profit, in the collection of debts allegedly
                                                           owed by consumers.
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC

                         GARDEN CITY, NEW YORK 11530




                                                                   10.    Defendants are “debt collectors” as defined by 15 U.S.C. § 1692a(6).

                                                                                                   ALLEGATIONS

                                                                   11.    Defendants allege Plaintiff owes a debt (“the Debt”).
                                                                   12.    The Debt was primarily for personal, family or household purposes and is
                                                           therefore a “debt” as defined by 15 U.S.C. § 1692a(5).
                                                                   13.    Sometime after the incurrence of the Debt Plaintiff fell behind on payments owed.
                                                                   14.    Thereafter, at an exact time known only to Defendants, the debt was assigned or
                                                           otherwise transferred to Defendants for collection.
                                                                   15.    In their efforts to collect the debt, Defendants contacted Plaintiff by letter (“the
                                                           Letter”) dated March 13, 2018. (“Exhibit 1.”)
                                                                   16.    The letter was the initial communication Plaintiff received from Defendants.
                                                                   17.    The letter is a “communication” as defined by 15 U.S.C. § 1692a(2).
                                                                   18.    At all times relevant herein, the Debt accrued interest and late fees pursuant to
                                                           Plaintiff’s credit card agreement.

                                                                                                   FIRST COUNT
                                                                                            Violation of 15 U.S.C. § 1692e



                                                                                                           2
                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 3 of 11 PageID #: 3



                                                                    19.     Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                   20.      The Letter states that Plaintiff owes a debt to “JH Portfolio Debt Equities, LLC.”
                                                                   21.      At the time of the Letter, Plaintiff did not owe any money to JH Portfolio Debt
                                                           Equities, LLC.
                                                                   22.      Plaintiff does not owe any money to JH Portfolio Debt Equities, LLC.
                                                                   23.      Plaintiff never contracted with JH Portfolio Debt Equities, LLC.
                                                                   24.      Plaintiff never incurred a debt to JH Portfolio Debt Equities, LLC.
                                                                   25.      15 U.S.C. § 1692e(2)(A) prohibits a debt collector from making a false
                                                           representation of the character, amount, or legal status of any debt.
                                                                   26.      15 U.S.C. § 1692e(10) prohibits a debt collector’s use of any false representation
                                                           or deceptive means to collect or attempt to collect any debt.
                                                                   27.      Defendants’ allegation that Plaintiff owed money to JH Portfolio Debt Equities,
                                                           LLC is a false representation of the character, amount, or legal status of any debt.
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC




                                                                   28.      Defendants’ allegation that Plaintiff owes any money to JH Portfolio Debt
                         GARDEN CITY, NEW YORK 11530




                                                           Equities, LLC is a false representation of the character, amount, or legal status of any debt.
                                                                   29.      Defendants’ request that Plaintiff make payment for a debt that she does not owe
                                                           is a false representation or deceptive means to collect or attempt to collect any debt.
                                                                   30.      For these reasons, Defendants violated 15 U.S.C. § 1692e.

                                                                                                   SECOND COUNT
                                                                                              Violation of 15 U.S.C. § 1692e

                                                                   31.      Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                   32.      The Debt was incurred on a Citibank, N.A. (“Citibank”) credit card.
                                                                   33.      The Letter sets forth a “Current Balance.”
                                                                   34.      Pursuant to the terms and conditions of the credit card, Citibank charged Plaintiff
                                                           interest on any balance carried on the account.
                                                                   35.      Pursuant to the terms and conditions of the credit card, Citibank charged Plaintiff
                                                           late fees on any payments due but not timely made by Plaintiff.
                                                                   36.      Pursuant to the terms and conditions of the credit card, Citibank charged Plaintiff
                                                           other fees on the account.
                                                                   37.      The right to collect from Plaintiff interest on any balance carried on the account



                                                                                                              3
                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 4 of 11 PageID #: 4



                                                           was not waived by Citibank.
                                                                   38.       The right to collect from Plaintiff late fees on any payments due but not timely
                                                           made by Plaintiff was not waived by Citibank.
                                                                   39.       The right to collect from Plaintiff other fees on the account was not waived by
                                                           Citibank.
                                                                   40.       The right to collect from Plaintiff interest on any balance carried on the account
                                                           was not waived by any assignee or successor-in-interest.
                                                                   41.       The right to collect from Plaintiff late fees on any payments due but not timely
                                                           made by Plaintiff was not waived by any assignee or successor-in-interest.
                                                                   42.       The right to collect from Plaintiff other fees on the account was not waived by
                                                           any assignee or successor-in-interest.
                                                                   43.       Plaintiff was never informed by anyone that the terms and conditions of the credit
                                                           card were changed.
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC




                                                                   44.       Pursuant to the terms and conditions of the credit card, interest continued to
                         GARDEN CITY, NEW YORK 11530




                                                           accrue on any balance unpaid.
                                                                   45.       Pursuant to the terms and conditions of the credit card, late fees continued to
                                                           accrue on any payments due but not timely made by Plaintiff.
                                                                   46.       Pursuant to the terms and conditions of the credit card, other fees continued to
                                                           accrue on the account.
                                                                   47.       Pursuant to the terms and conditions of the credit card, Citibank and any assignee
                                                           or successor-in-interest had the legal right to collect from Plaintiff interest on any balance carried
                                                           on the account.
                                                                   48.       Pursuant to the terms and conditions of the credit card, Citibank and any assignee
                                                           or successor-in-interest had the legal right to collect from Plaintiff late fees on any payments due
                                                           but not timely made by Plaintiff.
                                                                   49.       Pursuant to the terms and conditions of the credit card, Citibank and any assignee
                                                           or successor-in-interest had the legal right to collect from Plaintiff other fees on the account.
                                                                   50.       Pursuant to the terms and conditions of the credit card, the legal right of Citibank
                                                           and any assignee or successor-in-interest to collect from Plaintiff interest on any balance carried
                                                           on the account is not waived by Citibank or any assignee or successor-in-interest as a result of a
                                                           failure by either Citibank or any assignee or successor-in-interest at any point in time to attempt



                                                                                                              4
                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 5 of 11 PageID #: 5



                                                           to collect from Plaintiff the aforementioned interest.
                                                                    51.    Pursuant to the terms and conditions of the credit card, the legal right of Citibank
                                                           and any assignee or successor-in-interest to collect from Plaintiff late fees on any payments due
                                                           but not timely made by Plaintiff is not waived by Citibank or any assignee or successor-in-interest
                                                           as a result of a failure by either Citibank or any assignee or successor-in-interest at any point in
                                                           time to attempt to collect from Plaintiff the aforementioned late fees.
                                                                    52.    Pursuant to the terms and conditions of the credit card, the legal right of Citibank
                                                           and any assignee or successor-in-interest to collect from Plaintiff other fees on the account is not
                                                           waived by Citibank or any assignee or successor-in-interest as a result of a failure by either
                                                           Citibank or any assignee or successor-in-interest at any point in time to attempt to collect from
                                                           Plaintiff the aforementioned other fees.
                                                                    53.    15 U.S.C. § 1692e requires debt collectors, when they notify consumers of their
                                                           account balance, to disclose that the balance may increase due to interest and fees.
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC




                                                                    54.    The Letter failed to disclose that the balance stated may increase due to interest.
                         GARDEN CITY, NEW YORK 11530




                                                                    55.    The Letter failed to disclose that the balance stated may increase due to late fees.
                                                                    56.    The Letter failed to disclose that the balance stated may increase due to other fees.
                                                                    57.    The Letter, because of the aforementioned failures, violates 15 U.S.C. § 1692e.


                                                                                                    THIRD COUNT
                                                                                             Violation of 15 U.S.C. § 1692g

                                                                    58.    Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                    59.    15 U.S.C. § 1692g provides that within five days after the initial communication
                                                           with a consumer in connection with the collection of any debt, a debt collector shall, unless the
                                                           information is contained in the initial communication or the consumer has paid the debt, send the
                                                           consumer a written notice containing certain enumerated information.
                                                                    60.    15 U.S.C. § 1692g(a)(1) requires the written notice provide “the amount of the
                                                           debt.”
                                                                    61.    The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must convey the
                                                           amount of the debt clearly from the perspective of the least sophisticated consumer.
                                                                    62.    The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must convey the
                                                           amount of the debt accurately from the perspective of the least sophisticated consumer.



                                                                                                             5
                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 6 of 11 PageID #: 6



                                                                     63.    The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must convey the
                                                           amount of the debt without ambiguity from the perspective of the least sophisticated consumer.
                                                                     64.    The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must state whether
                                                           interest, late fees and/or other fees are accruing.
                                                                     65.    The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must allow the least
                                                           sophisticated consumer to determine the minimum amount he or she owes at the time of the
                                                           notice.
                                                                     66.    The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must allow the least
                                                           sophisticated consumer to determine what he or she will need to pay to resolve the debt at any
                                                           given moment in the future.
                                                                     67.    The written notice, to comply with 15 U.S.C. § 1692g(a)(1), must contain an
                                                           explanation, understandable by the least sophisticated consumer, of any fees or interest that may
                                                           cause the balance to increase at any time in the future.
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC




                                                                     68.    The failure to include the foregoing information renders an otherwise accurate
                         GARDEN CITY, NEW YORK 11530




                                                           statement of the “amount of the debt” violative of 15 U.S.C. § 1692g(a)(1).
                                                                     69.    The Letter fails to indicate the minimum amount Plaintiff owed at the time of the
                                                           Letter.
                                                                     70.    The Letter fails to provide information that would allow the least sophisticated
                                                           consumer to determine the minimum amount he or she owes at the time of the Letter.
                                                                     71.    The Letter fails to provide information that would allow Plaintiff to determine
                                                           what Plaintiff will need to pay to resolve the debt at any given moment in the future.
                                                                     72.    The Letter fails to provide information that would allow the least sophisticated
                                                           consumer to determine what he or she will need to pay to resolve the debt at any given moment
                                                           in the future.
                                                                     73.    The Letter fails to provide information that would allow the least sophisticated
                                                           consumer to determine the amount of interest owed.
                                                                     74.    For instance, the Letter fails to indicate the applicable interest rate.
                                                                     75.    For instance, the Letter fails to indicate the date of accrual of interest.
                                                                     76.    For instance, the Letter fails to indicate the amount of interest during any
                                                           measurable period.
                                                                     77.    The Letter fails to provide information that would allow the least sophisticated



                                                                                                                 6
                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 7 of 11 PageID #: 7



                                                           consumer to determine the amount of late fees owed.
                                                                  78.     For instance, the Letter fails to indicate the amount of late fees.
                                                                  79.     For instance, the Letter fails to indicate the date such fees will be added.
                                                                  80.     For instance, the Letter fails to indicate the amount of late fees during any
                                                           measurable period.
                                                                  81.     The Letter fails to contain an explanation, understandable by the least
                                                           sophisticated consumer, of any fees and interest that may cause the amount stated to increase.
                                                                  82.     The Letter fails to state whether interest, late fees and/or other fees are accruing.
                                                                  83.     The Letter fails to state what part of the amount stated is attributable to principal.
                                                                  84.     The Letter fails to state what part of the amount stated is attributable to interest.
                                                                  85.     The Letter fails to state what part of the amount stated is attributable to late fees.
                                                                  86.     The Letter fails to state what part of the amount stated is attributable to other fees.
                                                                  87.     The Letter, because of the aforementioned failures, would render the least
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC




                                                           sophisticated consumer unable to determine the minimum amount owed at the time of the Letter.
                         GARDEN CITY, NEW YORK 11530




                                                                  88.     The Letter, because of the aforementioned failures, would render the least
                                                           sophisticated consumer unable to determine what she will need to pay to resolve the debt at any
                                                           given moment in the future.
                                                                  89.     The Letter, because of the aforementioned failures, would render the least
                                                           sophisticated consumer unable to determine the amount of his or her debt.
                                                                  90.     The Letter, because of the aforementioned failures, would render the least
                                                           sophisticated consumer unable to determine the amount of her debt because the consumer would
                                                           not know whether interest and fees would continue to accrue, or whether the amount of the debt
                                                           was static.
                                                                  91.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                           the debt” clearly from the perspective of the least sophisticated consumer.
                                                                  92.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                           the debt” accurately from the perspective of the least sophisticated consumer.
                                                                  93.     The Letter, because of the aforementioned failures, did not convey “the amount of
                                                           the debt” without ambiguity from the perspective of the least sophisticated consumer.
                                                                  94.     The Letter, because of the aforementioned failures, renders the statement of the
                                                           amount of the debt, even if otherwise accurate, violative of 15 U.S.C. § 1692g(a)(1).



                                                                                                             7
                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 8 of 11 PageID #: 8



                                                                   95.       The Letter, because of the aforementioned failures, did not adequately set forth
                                                           “the amount of the debt” as required by 15 U.S.C. § 1692g.
                                                                   96.       The Letter, because of the aforementioned failures, violates 15 U.S.C. § 1692g.
                                                                                                    FOURTH COUNT
                                                                                               Violation of 15 U.S.C. § 1692e

                                                                   97.       Plaintiff repeats and realleges the foregoing paragraphs as if fully restated herein.
                                                                   98.       As previously set forth, the Letter sets forth a “Current Balance.”
                                                                   99.       As previously set forth, Plaintiff was always charged interest on any balance
                                                           carried on the account.
                                                                   100.      As previously set forth, Plaintiff was always charged late fees on any payments
                                                           due but not timely made by Plaintiff.
                                                                   101.      As previously set forth, Plaintiff was never informed by anyone that the terms and
                                                           conditions of the credit card were changed.
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC




                                                                   102.      The Letter fails to disclose whether the amount stated may increase due to
                         GARDEN CITY, NEW YORK 11530




                                                           additional interest.
                                                                   103.      The Letter fails to disclose whether the amount stated may increase due to
                                                           additional late fees.
                                                                   104.      The Letter fails to indicate whether the creditor will accept payment of the
                                                           amount stated in full satisfaction of the debt if payment is made by a specified date.
                                                                   105.      A collection letter violates 15 U.S.C. § 1692e if it can reasonably be read by the
                                                           least sophisticated consumer to have two or more meanings, one of which is inaccurate.
                                                                   106.      The Letter, because of the aforementioned failures, and because interest and late
                                                           fees were always charged on the account and Plaintiff was never informed by anyone that
                                                           interest and late fees would no longer be applied, and especially because of the use of the word
                                                           “Current,” can reasonably be read by the least sophisticated consumer to mean that interest was
                                                           still accruing.
                                                                   107.      The Letter, because of the aforementioned failures, and because interest and late
                                                           fees were always charged on the account and Plaintiff was never informed by anyone that
                                                           interest and late fees would no longer be applied, and especially because of the use of the word
                                                           “Current,” can reasonably be read by the least sophisticated consumer to mean that late fees were
                                                           still accruing.



                                                                                                               8
                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 9 of 11 PageID #: 9



                                                                   108.     The Letter could also reasonably be read by the least sophisticated consumer to
                                                           mean that interest was no longer accruing.
                                                                   109.     The Letter could also reasonably be read by the least sophisticated consumer to
                                                           mean that late fees were no longer accruing.
                                                                   110.     The Letter could reasonably be read by the least sophisticated consumer to mean
                                                           that the debt could be satisfied in full by payment of the amount stated.
                                                                   111.     The Letter could reasonably be read by the least sophisticated consumer to mean
                                                           that the debt could be satisfied in full by payment of the amount stated at any time after receipt
                                                           of the Letter.
                                                                   112.     The Letter could also reasonably be read by the least sophisticated consumer to
                                                           mean that the amount stated was accurate only on the date of the Letter because of the continued
                                                           accumulation of interest and/or late fees.
                                                                   113.     Because the Letter can reasonably be read by the least sophisticated consumer to
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC




                                                           have two or more meanings, one of which is inaccurate, as described, it is deceptive under 15
                         GARDEN CITY, NEW YORK 11530




                                                           U.S.C. § 1692e.
                                                                   114.     For these reasons, Defendants violated 15 U.S.C. § 1692e.


                                                                                                CLASS ALLEGATIONS
                                                                   115.     Plaintiff brings this action individually and as a class action on behalf of all
                                                           persons similarly situated in the State of New York from whom Defendants attempted to collect a
                                                           consumer debt using a collection letter that fails to advise the consumer that the debt was subject
                                                           to interest and late fees, from one year before the date of this Complaint to the present.
                                                                    116. This action seeks a finding that Defendants’ conduct violates the FDCPA, and
                                                           asks that the Court award damages as authorized by 15 U.S.C. § 1692k.
                                                                    117. Defendants regularly engage in debt collection.
                                                                    118. The Class consists of more than 35 persons from whom Defendants attempted to
                                                           collect delinquent consumer debts using a collection letter that fails to advise the consumer that
                                                           the debt was subject to interest and late fees.
                                                                    119. Plaintiff’s claims are typical of the claims of the Class. Common questions of law
                                                           or fact raised by this class action complaint affect all members of the Class and predominate over
                                                           any individual issues. Common relief is therefore sought on behalf of all members of the Class.



                                                                                                             9
                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 10 of 11 PageID #: 10



                                                            This class action is superior to other available methods for the fair and efficient adjudication of
                                                            this controversy.
                                                                    120. The prosecution of separate actions by individual members of the Class would
                                                            create a risk of inconsistent or varying adjudications with respect to the individual members of
                                                            the Class, and a risk that any adjudications with respect to individual members of the Class
                                                            would, as a practical matter, either be dispositive of the interests of other members of the Class
                                                            not party to the adjudication, or substantially impair or impede their ability to protect their
                                                            interests. Defendants have acted in a manner applicable to the Class as a whole such that
                                                            declaratory relief is warranted.
                                                                    121. Plaintiff will fairly and adequately protect and represent the interests of the Class.
                                                            The management of the class action proposed is not extraordinarily difficult, and the factual and
                                                            legal issues raised by this class action complaint will not require extended contact with the
                                                            members of the Class, because Defendants’ conduct was perpetrated on all members of the Class
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC




                                                            and will be established by common proof. Moreover, Plaintiff has retained counsel experienced
                         GARDEN CITY, NEW YORK 11530




                                                            in actions brought under consumer protection laws.


                                                                                                    JURY DEMAND

                                                                    122. Plaintiff hereby demands a trial of this action by jury.

                                                                                                PRAYER FOR RELIEF
                                                                   WHEREFORE, Plaintiff respectfully requests judgment as follows:

                                                                   a.      Certify this action as a class action; and

                                                                   b.      Appoint Plaintiff as Class Representative of the Class, and Plaintiff’s attorneys as
                                                                           Class Counsel; and

                                                                   c.      Find that Defendants’ actions violate the FDCPA; and

                                                                   d.      Grant damages against Defendants pursuant to 15 U.S.C. § 1692k; and

                                                                   e.      Grant Plaintiff’s attorneys’ fees pursuant to 15 U.S.C. § 1692k; and

                                                                   f.      Grant Plaintiff’s costs; together with

                                                                   g.      Such other relief that the Court determines is just and proper.



                                                                                                             10
                                                           Case 1:18-cv-05143-ARR-RLM Document 1 Filed 09/12/18 Page 11 of 11 PageID #: 11



                                                            DATED: September 11, 2018

                                                                                               BARSHAY SANDERS, PLLC

                                                                                               By:     /s/ Craig B. Sanders
                                                                                               Craig B. Sanders, Esq.
                                                                                               100 Garden City Plaza, Suite 500
                                                                                               Garden City, New York 11530
                                                                                               Tel: (516) 203-7600
                                                                                               Fax: (516) 706-5055
                                                                                               csanders@barshaysanders.com
                                                                                               Attorneys for Plaintiff
                                                                                               Our File No.: 115572
                        100 GARDEN CITY PLAZA, SUITE 500
BARSHAY | SANDERSPLLC

                         GARDEN CITY, NEW YORK 11530




                                                                                                 11
